






Opinion issued July 3, 2008









In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-08-00200-CV

____________


LAKOTA RESOURCES, INC., Appellant


V.


PATHEX PETROLEUM, INC. AND ABQ ENERGY GROUP, LTD.,
Appellees






On Appeal from the 164th District Court

Harris County, Texas

Trial Court Cause No. 2002-31310E






MEMORANDUM OPINION

	The Court today considered the appellant's unopposed motion to set aside the
trial court's final judgment and for remand, in which they request this Court to
remand the case to the trial court for entry of an agreed final judgment.  The motion
is granted as follows:


  	The trial court's judgment is set aside without regard to the merits. 
Tex. R. App. P. 42.1(a)(2)(B).




  	The case is remanded to the trial court with instructions to render
judgment in accordance with the settlement agreement.

  	All other pending motions are overruled as moot.

  	The Clerk of this Court is directed to issue mandate 10 days after the
date of this opinion.  Tex. R. App. P. 18.1.

  	The parties shall pay the costs they incurred by reason of this appeal. 
Tex. R. App. P. 42.1(d).



					PER CURIAM

Panel consists of Chief Justice Radack and Justices Keyes and Alcala.


